
PER CURIAM.
We review Arnett v. State, 471 So.2d 547 (Fla. 4th DCA 1985), because of direct and express conflict with State v. Jackson, 478 So.2d 1054 (Fla.1985). We have jurisdiction, article V, section 3(b)(3), Florida Constitution.
The district court below held, inter alia, that sentencing guidelines in effect at the time of sentencing, but not in effect at the time the offense was committed, could not be applied. We quash the portion of the decision so holding on the authority of Jackson and remand for proceedings consistent with this opinion.
It is so ordered.
BOYD, C.J., and ADKINS, OVERTON, McDONALD and BARKETT, JJ., concur.
EHRLICH, J., concurs specially with an opinion, in which SHAW, J., concurs.
